Case 1:12-cr-20913-JAL Document 222 Entered on FLSD Docket 07/22/2014 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 12-20912-CR-LENARD/GOODMAN

  UNITED STATES OF AMERICA
            Plaintiff,

  vs.

  JOSE BEDOYA GIRALDO,

             Defendant.
  _____________________________/


  ORDER ADOPTING MAGISTRATE'S AMENDED REPORT AND RECOMMENDATION

          THIS CAUSE came before the Court upon the Defendant=s request to enter a plea
  of guilty.
          THE MATTER was referred to Magistrate Judge Jonathan Goodman on June 24,
  2014. A Report and Recommendation filed on July 10, 2014 recommended that the
  Defendant=s plea of guilty be accepted. The Defendant and the Government were
  afforded the opportunity to file objections to the Report and Recommendation, however,
  none were filed. The Court has conducted a de novo review of the entire file. Accordingly,
  it is
           ORDERED AND ADJUDGED that the Report and Recommendation of United
  States Magistrate Judge Jonathan Goodman, is hereby Adopted and Approved in its
  entirety. The Defendant is adjudged guilty as to count two of the Indictment.


          DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of July, 2014.




                                                       ________________________________
                                                                     JOAN A. LENARD
                                                       UNITED STATES DISTRICT JUDGE
